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P-1 1987 Biology and Origins draft FTE003167 — Buell - 9
FTE003184
P-2 1987 Biology and Origins draft FTE002376 — Buell — 10
FTE002464
P-3 07/22/1987 | Open letter from J. Buell thanking people for FTE003526 — Buell — 28
ordering The Mystery of Life’s Origin FTE003527
p-4 10/05/1988 | Of Pandas and People draft (marked “Current FTE005786 — Buell — 13
Master 10/5/88”) FTE005803
P-5 10/21/1988 |; Open letter from J. Buell FTE000540 Buell — 37
P-6 1989 Davis, Percival and Kenyon, Dean H. 1* Ed.
Of Pandas and People. Foundation of
Thought and Ethics: Richardson, Texas.
(1989)
P-7 03/10/1989 | Table of Contents and Chapter 1 of The FTE005552 — Buell — 12
Origins of Life (marked “master 3/10/89”) FTE005803
P-8 04/27/1989 | Of Pandas and People Publication Proposal Buell — 15
P-9 05/1990 | Of Pandas and People’s Marketing Plan FTE003522 — Buell — 29
FTE003525
P-10 03/28/1991 | Letter to J. Buell FTE000522 Buell - 36
P-1] 1993 Davis, Percival and Kenyon, Dean H. 2" Ed. FTE Hearing
Of Pandas and People. Foundation of Exh P-8
Thought and Ethics: Richardson, Texas.
(1989, 1993 version)
P-12 12/30/1993 | Article 9.01 Report submitted to the State of Buell —3
Texas (attached Articles of Incorporation FTE Hearing
dated 12/5/1980) Exh P - 3
P-13 11/14/1994 | Larson, Erik. “Darwin Struggle: Instead of BF000622 — Buell — 17
Evolution, A Textbook Proposes ‘Intelligent BF000625
Design’ — Who Did the Designing, It Doesn’t
Say; Critics See Disguised Creationism ---
‘Agent’ Who Hath No Name,” The Wall
Street Journal (Eastern Ed.). New York: Nov.
14, 1994, pg. A.l.
P-14 1995 Marketing Plan for 1995 FTE003533 — Buell — 31
FTE00003535
P-15 02/13/1995 | Open addressed letter from J. Buell, of the FTE000548 — Buell —7
FTE, describing foundations purpose FTE000550 F te Beanine
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P-16 03/08/1995 | Open letter from J. Buell FTE003439 — Buell — 39
FTE003440
P-17 05/1995 | “Challenging Darwin’s Theory” Buell — 18

 

 

 

 

 

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P-18 01/30/1997 | Letter to Arthur Bartlett from J. Buell BF000001 — Buell — 26
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P-19 01/30/1997 | Letter to Arthur Bartlett from J. Buell BFO00001 — FTE Hearing
BF000007 Exh P —6
P-20 09/20/1999 | General form letter from J. Buell FTE003536 Buell — 40
Pp-21 01/09/2002 | Dover Area School District Board Issues 00003968
p-22 09/10/2002 | Letter to Lila Kremer from J. Buell FTE00838 — Buell — 33
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P-23 02/11/2003 | Memorandum to R. Nilsen, M. Baksa and D. 000192 — 000203 Miller — 2
Russell form T. Peterman, Re: Budget
Justifications for Science Department for
2003-04 Budget Year (attached are Textbook
Requisitions)
Pp-24 03/26/2003 | Dover Area School District 003969
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P-25 03/26/2003 | Dover Area School District Board Issues 003970 — 003971
P-26 04/01/2003 | Memorandum to M. Baksa, L. Redding and B. | 000944 — 000951 P-9
Spahr from T. Peterman, Re: Creationism as it Miller - 1
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P-27 08/04/2003 | Dover Area School District School Board P00966 — P00970
Planning Meeting Agenda, Monday, August 4,
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P-28 10/01/2003 | Foundation of Thought and Ethics Tax Buell — 5
Exempt Form FTE Hearing
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P-29 11/10/2003 | Dover Area Schoo! District, School Board 003972 — 003977
Meeting Agenda, Monday, November 10,2003
P-30 11/10/2003 | School Board Minutes, Dover Area School 003978 — 003983
District, Monday, November 10,2003
P-31 2004 Miller and Levine. Biology. Prentice Hall:
Upper Saddle River, NJ. (Biology Textbook —
2004 ed.)
P-32 2004 School Board Committee Organization for 003988
2004
Pp-33 01/05/2004 | School Board Minutes, Dover Area School P00096 — P00097
District, Monday, January 5, 2004
P-34 01/12/2004 | School Board Minutes, Dover Area School P00098 — P00102,
District, Monday, January 12, 2004
P-35 02/27/2004 | Email to B. Spahr from M. Baksa, Re: 000206 Miller — 2
Textbooks

 

 

 

 

 

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P-36 03/01/2004 | School Board Minutes, Dover Area School P00111 —P00114
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P-37 03/08/2004 | School Board Minutes, Dover Area School P00117 — P00121
District, Monday, March 8, 2004
P-38 04/05/2004 | School Board Minutes, Dover Area School P00127 — P00131
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P-39 04/13/2004 | School Board Minutes, Dover Area School P00149 — P00152
District, Tuesday, April 13, 2004
P-40 04/15/2004 | Curriculum Advisory Council Minutes, April 000005
15, 2004
p-41 04/26/2004 | Email to B. Spahr and J. Miller from M. 000204 Miller — 2
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P-42 06/07/2004 | June 7, 2004 School Board Planning Meeting | 000219 — 000229 Miller — 3
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p-43 06/07/2004 | School Board Minutes, Dover Area School P00169 — P00172
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Pp-44 06/08/2004 | York Dispatch News Article “Dover debates P01309 — P01310
evolution in biology text” by Heidi Bernhard-
Bubb
P-45 06/09/2004 | York Dispatch News Article “Dover schools P01311 — P01313
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P-46 06/09/2004 | York Daily Record News Article “Dover P01314 — P01315
schools still debating biology text” by Joseph
Maldonado
P-47 6/10/2004 | York Daily Record News Article “Residents P01316—P01318
join creation debate” by Joseph Maldonado
Pp-48 06/14/2004 | School Board Minutes, Dover Area School P00179 — P00186 P-37
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P-49 06/14/2004 | Dover Area School District School Board 000230 - 000237 Miller — 3
Planning Meeting Agenda, Monday, June 14,
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P-50 06/14/2004 | York Daily Record News Article “Update: P01321
School board talks books” by Joseph
Maldonado
P-51 06/14/2004 | York Daily Record News Article “Textbook PO01322 — PO01323
controversy continues” by Joseph Maldonado
P-52 06/14/2004 | Jennifer Miller’s handwritten notes of June 14,
2004 Meeting
P-53 06/15/2004 | York Daily Record News Article “Book is P01327 — P01328
focus of more debate” by Joseph Maldonado
P-54 06/15/2004 | York Dispatch News Article “Church, state P01324 — P01326

 

 

 

 

 

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issue divides; Creationism draws 100 to Dover
meeting” by Heidi Berhnard-Bubb

 

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York Sunday News News Articles “Board
member takes a stand”

P01335

 

P-56

06/20/2004

Letter to the Editor in the York Sunday News
written by B. Eveland entitled “Buckingham
Wrong on Text”

P01658

 

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06/21/2004

Email to A. Bonsell from S. Cooper, of the
Discovery Institute, Re: Dover Area Schools
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06/22/2004

Editorial in York Daily Record by B. Callahan
regarding the Mural and biology curriculum
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Handwritten notes from June 24, 2004
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H. Geesey’s Letter to the Editor of of the York
Sunday News responding to B. Eveland’s letter

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July 12, 2004 School Board Meeting Agenda

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7/13/2004

York Dispatch News Article “Dover schools
delays text vote: New version of book
available” by Heidi Berhnard-Bubb

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07/25/2004

Request to add discussion of the book Of
Pandas and People to the August 2, 2004
School Board Agenda submitted by W.
Buckingham

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Dover Area School District Schoo! Board
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2004

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Memorandum to A. Bonsell, C. Brown, W.
Buckingham, S. Harkins, J. Miller, J. Riedel
and B. Spahr from Amy Aumen, Re:
Curriculum Committee Meeting

000002

 

 

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Memorandum to Board of Directors from M.
Baksa, Re: Biology Curriculum (attached

 

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recommended curriculum change for Biology)

 

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08/26/2004

Email to R. Nilsen from S. Russell with
handwritten notes

000339

Miller — 5

 

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School Board Minutes, Dover Area School
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School Board Minutes, Dover Area School
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Memorandum to Board Curriculum
Committee from M. Baksa, Re: Biology
Curriculum (attached recommended
curriculum change)

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Memorandum to Board of Directors from M.
Baksa, Re: Biology Curriculum

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09/28/2004

Memorandum to A. Bonsell, C. Brown, B.
Buckingham and S. Harkins from M. Baksa,
Re: Meeting

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10/04/2004

October 4, 2004 School Board Planning
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000260 — 000266

Miller — 3

 

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October 4, 2004 Dover Area School District
Board Agenda with handwritten notes and 2-
page pamphlet enclosed with shipment of
Pandas books

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Dover Area School District School Board
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10/04/2004

Check to Donald Bonsell signed by William
Buckingham which reads for “Of Pandas and
People” books

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Proposed Curriculum Changes discussed at
Board Curriculum Council Meeting

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10/07/2004

Proposed Curriculum Changes discussed at
Board Curriculum Council Meeting with
handwritten notes

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Memorandum to Board of Directors from M.
Baksa, Re: Biology Curriculum (attached
recommended changes to the Biology
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Baksa, Re: Biology Curriculum (attached
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Baksa, Re: Biology Curriculum (attached
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Memorandum to Curriculum Advisory
Committee from M. Baksa

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Memorandum to Board of Directors from M.
Baksa, Re: Biology Curriculum (attached
second draft of recommended Biology
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October 18, 2004 Dover Area School District
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Verbatim discussion at the October 18, 2004
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Handwritten notes taken by B. Spahr at the
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Email from M. Baksa to B. Neal, Re:
Direction, discusses Myth of Separation by
David Barton

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10/19/2004

Email to A. Bonsell from S. Cooper, Re:
Dover Schools & Evolution Issue

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Email to Riedel from Nilsen, Re: Department
Chair meeting

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Draft of statement to be read to Biology
classes

000349

Miller — 5

 

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11/02/2004

Memorandum to M. Baksa from J. Miller and
R. Linker

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Miller — 5

 

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Corrections J. Miller made to draft statement

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Miller — 5

 

 

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11/09/2004

 

Email to J. Miller and R. Linker from M.

 

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P-100 11/15/2004 | Teacher’s revisions to statement 000351 Miller — 5

P-101 11/18/2004 | J. Miller’s handwritten notes from November Miller — 3
18, 2004 meeting that Nightline filmed

P-102 11/18/2004 | Dover Area School District, Board of School 000287 - 000294
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P-103 11/18/2004 | School Board Minutes, Dover Area School P00270
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P-104 11/19/2004 | Dover Area School Board of Directors P01307 — P01308 P-3
Biology Curriculum Press Release, dated 000049 — 000050 P-32
11/19/2004 (reposted 12/14/2004)

P-105 11/19/2004 | Letter from the Science teachers (B. Spahr, L. 000076 P—5
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P-106 11/19/2004 | Letter to R. Nilsen from B. Spahr, L. Prall, J. 000071 Miller — 5
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P-107 12/01/2004 | Dover Area School District School Board 000295 - 000302
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P-108 12/06/2004 | Memorandum to Board of Directors from A. P01534 and P-—5
Yingling, Re: Yingling asks Board to 000086
reconsider Curriculum changes

P-109 12/07/2004 | Memorandum to B. Spahr from M. Baksa, Re: 000010 P-5
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P-110 12/07/2004 | Memorandum to R. Eshbach, R. Linker, J. 000364 — 000365 Miller — 5
Miller, L. Prall, B. Spahr and D. Taylor, Re:
Biology Statement (attached copy of
statement)

P-111 12/08/2004 | York Daily Record Articles: “Board member P01399 — P01400 P—54
says the worst is coming,” by J. Maldonado

P-112 12/10/2004 | Email to A. Bonsell from S. Cooper, Re: 001941 P-40
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P- 113 12/14/2004 | Complaint, filed December 14, 2004 P01262 — P1286 P-1

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P-114 12/15/2004 | Memorandum to High School Science 000344 Miller — 5
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P-115 12/20/2004 | Dover Area School District School Board 000303
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Email from L. Dubbs to C. Lacoe, Re:
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Memorandum to B. Spahr, J. Miller, R.
Linker, R. Eshbach, L. Prall, B. Bahm, D.
Taylor and V. Davis from R. Nilsen, Re:
January 6, 2005 “Reading Statement on
Intelligent Design” Memo

000389

Miller — 5

 

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01/16/2005

Banerjee, Neela. “An Alternative to Evolution
Splits a Pennsylvania Town.” New York
Times.

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Administrator’s Biology Statement in Biology
Class

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Email chain from Randy Meyers to Richard
Nilsen, re: NYTimes.com: Evolution Takes a
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“What is the Foundation of Thought and
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P-132 Document created by W. Buckingham 000039 P~5
indicating his problems with the Prentice Hall 000210 Miller — 2
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P-133 Letter to Dover School District Parents from 000166 — 000167 P-5
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P-134 “About Us” page from the Thomas More Law P01624 P-7
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P-135 Dover Area School District Biology I Planned | P01625 —P01649 P—8
Course/Curriculum Guide

P-136 Bob Jones University (BJU) Biology Student 000208 P-1l
Text Product Profile (with handwritten notes) Miller — 2

P-137 BJU Biology Student Text Product Profile 001084 P—12

P-138 Survey of Biology Text Books used in Dover 000207 P—13
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P-139 Handwritten notes on M. Baksa’s stationary 000952 — 000955 P—14

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P-141 Survey of Biology Text Books used in Area 000055 P-17
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P-142 Precedent Case Descriptions 000897 — 000943 P—18

P-143 Handwritten notes; phone conversation with 000963 P- 26
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P-144 Pamphlet enclosed with School’s delivery of P00044, P00043 P— 33
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P-145 Fox 43 News Clip — W. Buckingham P01655 P — 36
Interview about teaching creationism in public
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P-146 A. Bonsell’s Supreme Court — Curriculum 002789 P-4]1
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P-147 Washington’s Farewell Address, 1796 002790 P—42

P-148 Letter to M. Baksa from Biology Department 000205 Miller — 2

P-149 “Beyond the ‘Evolution vs. Creation Debate’” | 000212 — 000213 Miller — 2
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P-150 M. Baksa comparison of the 2002 and 2004 000214 Miller — 2
Editions of the Prentice Hall Biology textbook

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ranging from June 2004 — July 2005 regarding
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Record ranging from June 2004 — July 2005
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Editorials York Daily Record ranging from
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ranging from November 2003 — April 2004
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Letters to the Editor from the York Daily
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Pledge of Allegiance controversy (index
attached)

 

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2003 regarding the Pledge of Allegiance
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News Articles from the York Dispatch ranging
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biology curriculum controversy (index
attached)

 

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Letters to the Editor from the York Dispatch
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the biology curriculum controversy (index
attached)

 

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Editorials York Dispatch ranging from June
2004 — July 2005 regarding the biology
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News Articles York Dispatch in November
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controversy (index attached)

 

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Letters to the Editor York Dispatch ranging
from March 2002 — November 2003
regarding the Pledge of Allegiance
controversy (index attached)

 

 

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Editorials York Dispatch ranging from
October 2001 — November 2003 regarding the

 

 

 

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KITZMILLER, ET AL. V. DOVER AREA SCHOOL DISTRICT, ET AL.

 

Trial Exh.
#

Date

Description

Bates Range

Dep Exh # / FTE
Hearing Exh #

 

 

Pledge of Allegiance controversy (index
attached)

 

P-164

News Articles from the Harrisburg Patriot
Newspaper ranging from April 2003 — June
2005 regarding the biology curriculum
controversy (index attached)

 

P-165

Letters to the Editor from the Harrisburg
Patriot Newspaper from October 2004 — July
2005 regarding the biology curriculum
controversy (index attached)

 

P-166

Editorials from the Harrisburg Patriot
Newspaper from October 2004 — July 2005
regarding the biology curriculum controversy
(index attached)

 

P-167

News Articles from Harrisburg Patriot
Newspaper from October 2003 regarding the
Pledge of Allegiance controversy (index
attached)

 

P-168

“Creation vs. Evolution” by Dr. Charles
Thaxton

FTE003541 —
FTE003542

Buell — |

 

P-168

“What is our mission?” from the FTE website

Buell — 6

 

P-169

“Introduction to Summary Chapter” — chapter
from Design of Life draft

Buell — 8

 

P-170

 

“A Word to the Teacher” by C. Thaxton, part
of draft

FTE001492 —
FTE001506

Buell — 11

 

P-171

Features of Treatment and Style, Of Pandas
and People

Buell — 14

 

P-172

Creation Science Pamphlet with a description
of Christian Science textbooks;

Excerpt from Creation Research Society
Quarterly which list Of Pandas and People as
a book available from Creation Research
Society Books

000404

Buell — 25

 

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Market Overview of books like Of Pandas and
People

FTE003548 —
FTE003549

Buell — 27

 

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Prospectus for Biology and Origins

FTE003469 —
FTE003485

Buell — 30

 

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Genera! letter from J. Buell

FTE003543 —
FTE03544

Buell — 41

 

 

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“Introduction to Summary Chapter” — chapter
from Design of Life draft

 

 

FTE Hearing
Exh P —7

 

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Trial Exh. Date Description Bates Range Dep Exh #/ FTE
# Hearing Exh #

P-177 Biography Sheet for Charles Thaxton Thaxton - 1
P-178 “Konos Connection” Thaxton - 2
P-179 “The Myth of Seperation” by David Barton

P-180 | 03/09/2005 | Dover Area School District 004000

Board/Adminstrative Retreat - March 9, 2005

 

 

 

 

 

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YORK DAILY RECORD NEWS ARTICLES — CURRICULUM CONTROVERSY
DATE ARTICLE AUTHOR

6/9/04 “Dover schools still debating biology text” Joseph Maldonado
6/10/04 | “Residents join creation debate” Joseph Maldonado
6/14/04 | “Update: School board talks books” Joseph Maldonado
6/14/04 | “Textbook Controversy continues” Joseph Maldonado
6/15/04 | “Book is focus of more debate” Joseph Maldonado
6/21/04 | “Faithful divided on book” Karen Muller
7/14/04 | “Bio book might be approved” Joseph Maldonado
8/3/04 “Dover Biology text approved” staff
8/4/04 “Biology book squeaked by Dover Area schools’ Joseph Maldonado

evolution debate included accusations of blackmail”
9/5/04 “An evolving controversy” Lauri Lebo
9/8/04 “°Of Pandas’ is shelved, for now” Lauri Lebo
10/5/04 | “Controversial bio book allowed” Joseph Maldonado
10/7/04 | “Pandas’ book prompts concerns” Joseph Maldonado
10/19/04 | “Intelligent design’ voted in” Joseph Maldonado
10/20/04 | “Parents react to decision” Joseph Maldonado
10/20/04 | “Dover curriculum move likely a first” Lauri Lebo and Joseph

Maldonado

10/24/04 | “Creation debate draws in teachers” Joseph Maldonado
11/1/04 | “Creationist discusses views on the origins of human Joseph Maldonado

life”
11/2/04 | “Apology demanded at Dover schools meeting” Joseph Maldonado
11/5/04 | “Morals at the polls; Social issues were on many voters’ | Jennifer Gish

minds on Election Day”
11/9/04 | “Evolution sticker a sticking point for Georgia district” _| staff
11/18/04 | “Seven vie for open slots on Dover school board” Joseph Maldonado
11/18/04 | “Dover legal battle brews” Lauri Lebo
11/19/04 | “Candidates chosen for school board” Joseph Maldonado
11/23/04 | “Dover Area in spotlight” Lauri Lebo
11/23/04 | “The Policy” staff
11/28/04 | “Objections by design; Couple’s stand in evolution Lauri Lebo

debate has them in the spotlight”
12/3/04 | “Union says intelligent design questions still Joseph Maldonado

unanswered”
12/5/04 | “Dover science faculty uneasy” Joseph Maldonado
12/7/04 | “Dover Area loses an official, again” Joseph Maldonado
12/8/04 | “Board member says the worst is coming” Joseph Maldonado
12/8/04 | “College biologists blast Dover” Lauri Lebo
12/9/04 | “Board member says the worst is coming” Joseph Maldonado
12/10/04 | “Religion, hunting spur talk” Sean Adkins
12/11/04 | “Dover Controversy” staff
12/11/04 | “Letter criticizing Dover board has own critics” Lauri Lebo

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12/14/04 | “Intelligent design lawsuit coming” Lauri Lebo

12/13/04 | “Parents defend lawsuit” Lauri Lebo

12/15/04 | “She hopes for change” Lauri Lebo

12/15/04 | “Timeline” staff

12/15/04 | “The Plaintiffs” staff

12/19/04 | “District officials consider suit, ponder response” Joseph Maldonado

12/19/04 | “Some allies question Dover board’s policy” Lauri Lebo

12/20/04 | “Intelligent design; Board to meet today” staff

12/20/04 | “Church backs Dover board” Karen Muller

12/21/04 | “Dover board picks More legal team” Lauri Lebo

12/22/04 | “Dover says ID won’t be taught” Lauri Lebo

12/24/04 | “Current events served up; Some patrons at the Reliance | Sean Adkins

Caf question the war, back intelligent design”

12/26/04 | “Dover intelligent design proponent goes absent” Lauri Lebo

12/26/04 | “Science controversy at a glance” staff

12/26/04 | “Christian-secular clashes intensify” Karen Muller

12/31/04 | “Dover board member back” Joseph Maldongdo

1/2/05 “Lesson will be brief, attorney says” Lauri Lebo

1/2/05 “Mark curriculum committee’s minutes absent” Joseph Maldonado

1/2/05 “Student differ on intelligent design” Lauri Lebo

1/4/05 ‘Dover board quiet on ID” Joseph Maldonado

1/7/05 “District’s lawyers see ‘good sign’” Teresa Ann Bo¢ckel

1/8/05 “Dover teachers get ‘relief’” Joseph Maldonado

1/9/05 ‘Dover’s lawyer responds to Penn letter” Joseph Maldonado

1/11/05 | “Intelligent design foes frustrated” Joseph Maldonado

1/11/05 | “Public comment policy assailed” Lauri Lebo

1/12/05 | “Dover to discuss design next week” Lauri Lebo

1/14/05 | “What it means to Dover case” Lauri Lebo and Joseph
Maldonado

1/16/05 | “Statements from depositions” staff

1/16/05 | “Dover figures deny remarks on creationism” Lauri Lebo

1/17/05 | “Dover lawyers look to Santorum” W.B. Sullivan

1/19/05 _| “More parents want to join lawsuit, on district’s side” Joseph Maldonado

1/19/05 | “Students miss ID idea” Lauri Lebo and|Joseph
Maldonado

1/28/05 | “Poll: ID matters to Dover voters” Lauri Lebo

2/1/05 “Attorneys: Cut five from lawsuit” Lauri Lebo

2/6/05 “Dover schools: Parent-teacher group meets” staff

2/6/05 “Dover controversy” staff

2/8/05 “Dover official resigns” Joseph Maldonado

2/9/05 “Intelligent Design; More motions in Dover fight” staff

2/15/05 | “Dover defends ID stance” Lauri Lebo

2/18/05 | “Dover schools race on” Lauri Lebo

2/21/05 | “College forum to look into ID” Joseph Maldonado

2/22/05 | “ID Debate: Lawyers spar with motions” staff

 

 

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2/25/05 | “Four vie for Dover position” Lauri Lebo

2/25/05 | “The candidates speak about intelligent design” staff

3/1/05 “Update: Anti-evolution book debated” staff

3/1/05 “Book’s fate a court debate” Lauri Lebo

3/2/05 “ID debate continues at college” Joseph Maldonado

3/2/05 “Corrections” staff

3/6/05 “Lining up for Dover seats” Joseph Maldonado

3/6/05 ‘“‘Who’s in the race so far” staff

3/8/05 “Update: Dover board gets new face” staff

3/8/05 “Dover board fills a seat” Joseph Maldonado

3/8/05 “Joining the race” staff

3/9/05 “18 vying for Dover spots” Lauri Lebo

3/9/05 “The candidates” staff

3/9/05 “Dover CARES about more than ID” Joseph Maldonado

3/12/05 | “Parents kept out of Dover suit” Lauri Lebo

3/13/05 | “Furor breathes new life into aging ‘Pandas’” Lauri Lebo

3/13/05 __| “Excerpts from Of Pandas and People” staff

3/18/05 _| ‘Dover teachers, board at odds” Joseph Maldonado

3/20/05 _| “Dover to review donated books” Joseph Maldonado

3/27/05 | “Dover sides pick experts” Lauri Lebo

3/30/05 | “Dover issues abound” Joseph Maldonado

3/30/05 _| “Election background” staff

4/6/05 “No tax hike seen for Dover” Joseph Maldonado

4/6/05 “Behe to speak on ID” staff

4/9/05 “Rep backs intelligent design” Lauri Lebo

4/12/05 | “Parents argue over intelligent design” Joseph Maldonado

4/22/05 | “Signs of tension are surfacing in Dover” Joseph Maldonado

4/24/05 | “Dover hosts speaker on evolution” Joseph Maldonado

4/26/05 | “Dover candidates face off” Lauri Lebo and Joseph
Maldonado

4/26/05 | “Candidates’ views” staff

5/8/05 “Not about intelligent design, they say; For the Joseph Maldonado

incumbents, it’s touting accomplishments”
5/8/05 “Not about intelligent design, they say; For one group, | Lauri Lebo
it’s taxes, communication, teachers”

5/8/05 “Primary 2005: Dover Area School District (Q&A) staff

5/15/05 __| “Primary issues plentiful” Tom Joyce

5/18/05 | “Hot soup feeds a hot school-board race” Jennifer Gish

5/18/05 | “Dover votes split” Lauri Lebo and|Joseph
Maldonado

5/18/05 | “Some townships see surprising wins” Teresa Boeckeljand
Michelle Starr

5/19/05 | “War for Dover board isn’t over” Lauri Lebo andjJoseph
Maldonado

5/22/05 | “Lawyer defends intelligent design” Joseph Maldonado

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6/11/05 | “Dover Area schools’ budget passes with no tax hike” _| Joseph Maldonado
6/19/05 | “Dover and intelligent design” staff
6/19/05 _| “Experts won’t back Dover” Lauri Lebo
6/21/05 | “State studies intelligent design” Richard Fellingg¢r
6/24/05 | “Black bear banter; Regulars at Shiloh Family Sean Adkins
Restaurant chatted about bears, baseball and the
classroom”
7/10/05 _| “Dover official to leave” Lauri Lebo
7/12/05 | “Dover CARES wants resignation before Sept. 8” Joseph Maldonado
7/13/05 | “Background” Lauri Lebo
7/13/05 | “Depositions of reporters sought in Dover case” Lauri Lebo
7/15/05 __| “Reporters” notes to be studied” Lauri Lebo
7/15/05 | “In court” Lauri Lebo
7/15/05 | “Corrections” staff
7/15/05 __| “Corrections” staff
7/29/05 | ‘Pandas’ publisher out of case” Lauri Lebo
8/2/05 “Buckingham resigns by letter” Joseph Maldonado
8/3/05 “Reporters can be questioned” Michelle Starr
8/3/05 “Bush adds to evolution buzz” Lauri Lebo
8/5/05 ‘Senator recasts science stance” Lauri Lebo
8/5/05 ‘Intelligent Design: Papers fight court decision” staff

 

 

 

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YORK DAILY RECORD NEWS LETTERS TO EDITOR —
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DATE ARTICLE AUTHOR
6/5/04 “Dover school board failed to deliver” Larry Snook
6/15/04 | “Creationism is not a science” Chris Carney
6/16/04 | “Creationism instance clearly wrong-headed” Larry Hicks
6/20/04 | “Buckingham wrong on text” Beth Eveland
6/21/04 | “Teach religion in church, not school” April Breneman
6/21/04 | “Dover school board embarrasses district” Kelly Adams
6/23/04 | “Evolution is fact, creationism isn’t” Lisa Schaumann
6/24/04 | “Keep creationism out of science class” Edward T. Yeatts II]
6/25/04 | “Founders created a secular nation” Joseph C. Korsak
6/26/04 | “Teach both ideas in school biology class” Kayla Armour
6/27/04 | “Textbook quest explained” Heather Geesey
6/30/04 __| “Focus on real issues, Dover board” Sandra Gordon
7/4/04 “Dover board would fail biology, civics” Milan Mitrovich
7/12/04 | “Prove this is a Christian nation” Steven Neubauer
9/14/04 | “Extinctions disprove intelligent design” Timothy O’Connell
9/16/04 | “A moment for prayer” picture
10/22/04 | “Keep creationism out of our schools” Linda Bergdoll
10/26/04 | “Keep church and science separate” Priscilla Lauer
10/26/04 | “Board lacks intelligence” Kelly Adams
10/28/04 | ‘Fairy tale science” Jerry Caplin
10/31/04 | ‘‘Raelians endorse ID” W. Konrad Crist
10/31/04 | “Wrong impression o theory” Dr. Robert A. Hermann
10/31/04 | “ID study is OK in public schools” Larry Rinehart
10/31/04 | “Dover headed down Taliban road” Bern Bevenour
10/31/04 | “Evolutionists wag the dogma” Michele Prince
10/31/04 | “Intelligently re-design school board” Sharon Wetzel
10/31/04 | “Creation stories are not science” Anthony Langione
11/7/04 __| “Imagine God and Satan” Sarah Hied
11/11/04 | “In defense of the Dover school board” Susan Myers
11/18/04 | “Practice what you preach” Steven Neubauer
12/4/04 | “Teach religion, science separately” Elaine Grahamslaw
12/4/04 | “Schools must steer clear of religion” Mark Malinowski
12/8/04 | “York college profs disturbed by Dover” Tony Botyrius, Rod
Waltemyer, Ron Kaltreider,
Karl Kleiner, Car.

12/8/04 | “ID is to evolution as astrology is to astronomy” Mark Duigon

12/9/04 | “Dover is still back in the 1950s” Doug Calaman

12/13/04 | “Love God or leave America, professors” George W.E. Schafer

12/14/04 | “Do more research on ID” Sam Shaffer

12/14/04 | “ID mere superstition” Donald Hoover

12/19/04 | “Leave science to scientists” Mark Lans Frydenborg

 

 

 

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12/19/04 | “Evolution’s faults suppressed” Betsy Leineweber
12/21/04 | “Stop persecuting Christians in U.S. Mark C. Flaharty
12/21/04 | “Atheist changed his mind on evolution” Thomas Seltzer
12/22/04 | “Put God back in public schools” Michael E. Freet Sr
12/23/04 | “Student supports Dover school board” Brittany Elicker
12/23/04 | “Keep religion out of my school” Danielle Yagodich
12/25/04 | “In defense of Dover” Lonny Langione
12/25/04 | “Feels sorry for community” Samantha Christy
12/26/04 | “Gravity shows God’s design” Floyd R. Eyler
12/27/04 | “Many scientists OK intelligent design” Sarah Hied
12/27/04 | Board disappoints school teacher” Dan Powers
12/29/04 | “Ashamed of alma mater: York College” Mary Eck
1/2/05 “Pros, cons of ID, evolution” Chris Althouse
1/2/05 “Evolving into a fascist state” Phil Wallick
1/2/05 “It’s a disservice to students” Mark F. Catterall
1/9/05 “Center’s letter” Richard Thompsonjand chief
counsel of the Thomas Moore
Law Center
1/10/05 | “Students should question theory” Patricia Anderson
1/10/05 | “Board should take poll of residents” Don Hake
1/10/05 | “Dover board applauded” Julian S. Dunnick
1/16/05 | “Board members seem to be incompetent” Randy Bennett
1/18/05 | “Dover board rude to constituents” Phillip Herman
1/19/05 | “What would Jesus do on the Dover School board?” | Larry Hicks
1/21/05 | “Prayer in public schools touted” George W. Schafer
1/22/05 | “ID boosters set up a false dichotomy” Mark Duigon
1/23/05 | “Quotable-quote by high school student” Jess Miller
1/28/05 | “Jesus Christ was the first liberal” Craig Fulton
1/30/05 | “Freedom of choice for students” Steve Myers
1/30/05 | “Let students think” Cindy Mummert
1/30/05 __| “Put the dumb hoopla to rest” Bill Goodling
1/30/05 | “Religion, science different truths” Rodger Waldman
1/30/05 __| “Let’s have a debate” Victor Carmichael
1/30/05 | “The dangers of biased science” Leo Carlin
1/30/05 | “Keep open minds, hearts” Ban Eno
1/30/05 | “Intelligent design makes sense” Gerald Kornbau
1/30/05 | “Board member should answer questions” David J. Boyer
1/30/05 | “Religious zealots out there” Greg Maxwell
2/2/05 “Which faith? Which God?” Carl Rishel
2/3/05 “Professor’s work too quickly dismissed” Nathan Schumacher
2/3/05 “Both can be right” John Branigan
2/6/05 ‘Allow both theories” Jennifer Myers
2/7/05 “Happy to be gone from York” Dave Wilson Jr.
2/8/05 “Yingling blasts Dover School Board” Christina Kauffman
2/10/05 | “Yes, Dover headed in wrong direction” Jeffrey A. Brown

 

 

 

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2/13/05 | “Scientific theory makes more sense” Richard Radecke

2/13/05 | “Scientific theory makes more sense” Jamison Marsala

2/24/05 _| “Dover violates the Constitution” Daniel Pell

2/27/05 __| “Call Thomas for Doer school board” Dan Eno

3/6/05 “Dover board went of deep end” Jeffrey A. Brown

3/6/05 “Present all theories” Alina Kline

3/6/05 “Fight moral decline” George W. Schafer

3/19/05 | “ID issue hurts a good district” Carol “Casey” Brown

3/20/05 _| “Religious certainty rushes inquiry” Kyle Cunningham, Ph.D.

3/21/05 | “Questions and answers” Riley R. Maus

3/27/05 _| “No light shed in ID story” Dazmer Ujvarosy

3/27/05 | “Admit to possibility of ID” Bill Faron

3/31/05 | “They care about education” Judy McIlvaine, Lawrence
Gurreri, Dover CARES

4/3/05 “ID movement repeats mistakes” Kyle Cunningham, Prof of
Biology

4/8/05 “Bring pride back to Dover” Dennis Benton Jr.

4/10/05 | “Dover board not doing its job” Jeffrey A. Brown

4/10/05 __| ““What the experts say on evolution” Chris Poborsky

4/10/05 __| “Teach both sides” Amanda Kessler

4/17/05_| “A pointless argument” Richard E. Voytek

4/22/05 _| “Keep an open mind on intelligent design” Alvin Grove

4/24/05 | “ACLU should support diversity” Michael and Jeanne Baker

4/24/05 | “Evolution theory doesn’t make sense” Rick Shaffer

4/28/05 | “Allow full range of scientific debate” Sandy Sasso

5/1/05 ‘Support for ID” Esther Hartlaub

5/1/05 ‘Prayer could save schools” E. Elwood Breighner

5/4/05 “Vote for Yingling and the Browns” Abraham Simmons

5/7/05 “In defense of Dover board” Sheila Harkins

5/13/05 __| “Board member proud of Dover” Alan Bonsell

5/14/05 _| “Young athletes’ parade brings pride” Janet Fadely

5/15/05 __| “Member admits religious motivation” Steven Neubauer

5/29/05 | “Kudos to Dover” Dorothy H. Weiland

6/6/05 “Accept compromise in Dover schools” Susan Magilton

6/21/05 __| “It wasn’t that hot” Louise Wolf

719/05 “Turn on the Cruise control” Charles W. Holsinger

7/17/05 __| “Illogical dispute over evolution” Byron Borger

7/20/05 __| “Buckingham should resign” Jo Ott

7/21/05 | “Unhappy with Dover board” Dennis Benton Jr.

7/22/05 _| “Rights not subject to creator or debate” Lowell Skelton

7/24/05 __| “Christians not helpful” Joan Stock

7/24/05 __| “God knows what man doesn’t” Floyd R. Eyler

8/15/05 | “Kudos to Dover board member” Roger Gorman

8/17/05 | “Evolution can’t possibly be true” Michele Prince

 

 

 

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YORK DAILY RECORD NEWS EDITORIALS — CURRICULUM CONTROVERSY
DATE ARTICLE AUTHOR
6/20/04 | “This week’s newsmaker: Board member takes a Scott Fisher
stand”
6/20/04 | “Inherit the wind in Dover” Mike Argento
6/20/04 | “What do you think? Creationism in textbooks” staff
6/21/04 | “Fight for Pa. road funding” staff
6/22/04 | “God, science, and Darwin can co-exist” B. Callahan
6/27/04 | “What do you think: Creationism and evolution” staff
6/27/04 | “Teach science, but keep the faith” Dave Dentel
10/24/04 | “Week in review: Trash, creationism and dungeon in | staff
the news”
10/24/04 | “Unintelligent design: Worst of both theories” Mike Argento
10/25/04 | “What you don’t know about ‘intelligent design’” Mike Argento
10/27/04 | “Our opinion: Dover board went too far” staff
10/31/04 | “Intelligent design dispute in Dover” staff
11/4/04 | “The tale of the tape in Dover” staff
11/7/04 | “Rewrite Dover science policy” Nancy Snyder
11/21/04 | “All theories created equal in Dover, at least” Mike Argento
11/23/04 | “Unintelligent resign” staff
11/28/04 | “Board member explains resignation” Jeffrey A. Brown
12/5/04 | “It’s hard to bear the scientific nonsense in Lew Brown
‘Pandas’”
12/5/04 | “board resignation act of conscience” Casey Brown
12/6/04 | “York College profs disturbed by Dover” Members of York College
Biology Department (see
articles for names)
12/9/04 | “Runaway train in Dover schools” staff
12/14/04 | “Why are Dover High School teachers afraid to Byron Borger
teach?”
12/19/04 | “The truth will set you free” Carl Rishel
12/19/04 | “Dover board circles the wagon” Noel Wenrich
12/19/04 | “Intelligent design flap makes York look foolish Mike Argento
again”
12/26/04 | “ACLU won’t put Darwin on trial” Dave Dentel
12/29/04 | “Resolutions and a few suggestions for the coming | Lynne Funk
year”
1/9/05 “Everyone is a little wrong in Dover debate” Leonard R. Klein
1/16/05 | “Our views: You’re under oath: The Dover staff
controversy gets even more ridiculous”
1/24/05 | “Strange events related to Dover” Mike Argento
1/30/05 _| “What does philosophy have to do with evolution?” | Victor Taylor
2/13/05 | “Shippensburg professors: ‘Let science be science” | Pablo Delis

 

 

 

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2/20/05 | “The Dover dilemma: Students weigh in on staff with quotes by|students
intelligent design”
2/27/05 | “Evolution is not true science” Ed J. Ross Ill
2/27/05 | “Former Dover board member decries gossip” Noel Wenrich
3/6/05 “Quotable” Jim Slinksy, Vic Walczak,
Richard Thompson
4/9/05 “Our opinion: White roses and thorns” staff
4/30/05 | “Our opinion: White roses and thorns” staff
5/23/05 | “Our opinion: Primary post-mortem: Low turnout staff
disappoints, but the results were interesting”
6/5/05 “No conflict between Bible and evolution” Steven Thomas
6/18/05 | “Our opinion: white roses and thorns” staff
7/4/05 ‘Don’t let facts obscure the truth about science, Dave Dentel
politics”
7/10/05 | “Science deals in facts, not myths” Pam Zerba
7/14/05 | “Our opinion: Nothing could be finer... Than staff
William Buckingham moving to Carolina”
8/6/05 “White roses and thorns” staff
8/7/05 “Quotable from this week’s news” staff

 

 

 

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YORK DAILY RECORD NEWS ARTICLES — PLEDGE CONTROVERSY

 

 

 

DATE ARTICLE AUTHOR)
4/23/03 | “Textbook issue before Dover Area board” Joseph Maldonado
11/10/03 | “Dover residents support Pledge” Joseph Malflonado
11/11/03 | “Pledge backed in Dover” Joseph Maldonado

 

 

 

 

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YORK DAILY RECORD NEWS LETTERS TO THE EDITOR — PLEDGE CONTROVERSY

DATE ARTICLE AUTHOR!

 

11/14/03 | Letters Denise Calaman, Larry Wolf,
Don Orcutt, Harold Schwartz,
David Townsend

 

 

 

 

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DATE ARTICLE AUTHOR
11/8/03 _| “Pledge flap settled in two words” Mike Argento
11/16/03 | “The Pledge of Allegiance Debate” Mathew Woessner
11/16/03 | “The Pledge of Allegiance: What do you think?”

 

 

 

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DATE ARTICLE AUTHOR

 

| 06/22/04 | God, science and Darwin can co-exist | Barrie Callahan

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